                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 In re:                                              Case No. 19-54531-pjs

 Joseph G. DuMouchelle,                              Chapter 11
 a/k/a Joe G. DuMouchelle and
 Melinda J. Adducci,                                 Hon. Phillip J. Shefferly
 a/k/a Lindy J. Adducci,

          Debtors.
                                     /

    UNITED STATES TRUSTEE’S MOTION TO CONVERT CASE TO
                        CHAPTER 7

          Daniel M. McDermott, United States Trustee, states:

          Preliminary Statement

          The United States Trustee seeks to convert this case because the Debtors have

failed to insure valuable non-exempt assets, have failed to list in their schedules all

of their creditors and litigation in which they have been parties over the past year,

and have generally not complied with reasonable requests by the U.S. Trustee for

documents and other information.          The Debtors refused on Fifth Amendment

grounds to verify their signatures on the petition, schedules and statement of

financial affairs, to account for numerous pre-petition transfers of assets, and to

specifically identify the location of valuable assets they previously claimed to own

and have in their possession.




 19-54531-pjs        Doc 33   Filed 11/20/19   Entered 11/20/19 17:55:55   Page 1 of 10
      Between the Debtors, the Fifth Amendment was invoked about 125 times at

the §341 meeting.

        Status of the Case

      1.     This case was filed on October 11, 2019.

      2.     According to the schedules, the Debtors’ assets consist of personal

items, a residential estate and a vacant lot on Sanibel Island, Florida, jewelry,

artwork, collectibles, and interests in LLC’s and trusts.

      3.     The Debtors have insurance on the real property in Florida, but the

policy provides insufficient insurance for the artwork, jewelry and other collectibles.

The personal property coverage included in the real property insurance declarations

provided to the U.S. Trustee is $100,000, while the value of the personal property

itemized by the Debtors to the U.S. Trustee shows a value of over $465,000.

      4.     At the §341 meeting on November 18, 2019, the Debtors refused on

Fifth Amendment grounds to verify their signatures on the petition, schedules and

statement of financial affairs.

      5.     Cause exists for conversion of the case under 11 U.S.C. §1112(b)(1),

(4)(C), and (4)(H).

      6.     Sections 1112(b)(1) and (b)(4)(C) and (H) state:

                      (b)(1) Except as provided in paragraph (2) and subsection (c), on
                      request of a party in interest, and after notice and a hearing, the
                      court shall convert a case under this chapter to a case under
                      chapter 7 or dismiss a case under this chapter, whichever is in the

                                             2
 19-54531-pjs    Doc 33     Filed 11/20/19   Entered 11/20/19 17:55:55    Page 2 of 10
                   best interests of creditors and the estate, for cause unless the court
                   determines that the appointment under section 1104(a) of a
                   trustee or an examiner is in the best interests of creditors and the
                   estate...

                          (4) For purposes of this subsection, the term “cause”
                          includes—
                                 … (C) failure to maintain appropriate insurance
                          that poses a risk to the estate or to the public;

                                 … (H) failure timely to provide information or
                          attend meetings reasonably requested by the United
                          States trustee (or the bankruptcy administrator, if any)[;].

Background

      7.    The Debtors are self-employed auctioneers/appraisers with a focus on

high-end estates and diamonds and precious gemstones.             The Debtor, Joseph

DuMouchelle, according to his website:

      … has more than 30 years of expertise in the buying, selling and appraisal of
      signed jewelry, important diamonds, colored stones and art works. In that
      time, we have established ourselves as one of the top buyers and sellers in the
      industry, and we are known for our integrity and a fierce commitment to our
      clients.
      But the tradition goes back even further, starting in 1927, when Joseph
      DuMouchelle’s grandfather founded DuMouchelle Art Gallery, an auction
      house and gallery in Detroit, Michigan. Since then, the DuMouchelle name
      has been synonymous with estate transactions, procuring estate sales and
      purchases worldwide. Located in an historic building in the city’s downtown
      district, the gallery is one of the oldest U.S.-founded auction houses. It has
      sold a wide array of valuable art work, furniture, objects and collectibles,
      including from [sic] paintings by Picasso and Monet, Louis XIV chairs,
      vintage Rolls Royce cars, Georg Jensen silverware and rock memorabilia.

      8.    Melinda Adducci, according to her website:

                                           3
 19-54531-pjs   Doc 33    Filed 11/20/19   Entered 11/20/19 17:55:55     Page 3 of 10
             … is a graduate gemologist, appraiser and jewelry expert with more
      than 35 years of experience in the jewelry and gemology fields. She holds a
      graduate gemology degree (G.G.) from the Gemological Institute of America
      (GIA) and is considered one of the leading experts in the industry, with a focus
      on signed estate, vintage and antique jewelry and important diamonds and
      colored gemstones.
             Melinda is one of the top certified jewelry appraisers in the U.S., with
      up-to-date accreditation in the Uniform Standards of Professional Appraisal
      Practice (USPAP), a Master Gemologist Appraiser® and Senior Appraiser
      with the American Society of Appraisers (ASA) and a member of the National
      Association of Jewelry Appraisers (NAJA). She also specializes in the buying,
      selling, private brokerage and auction of jewelry, gemstones and important
      objects d'art, having handled important pieces such as the estates of Matilda
      Dodge Wilson and Nat King Cole, and the 7.45-ct Harry Winston diamond
      engagement ring given to Marla Maples by her ex-husband, Donald Trump.
      She has also handled many important colored gemstones and diamonds,
      including a 13.24-ct D/Flawless diamond that sold for approximately $1
      million.

      9.     This bankruptcy filing was prompted by collection actions of judgment

creditors. Many of the judgment creditors share a common theme: the Debtors’

alleged breach of trust and fraudulent conduct in their business dealings with the

creditors.

The Debtors Have Not Timely Provided Information Reasonably Requested by
the U.S. Trustee and Their Schedules Are Incorrect

      10.    The U.S. Trustee has reasonably requested information about assets of

the estate. For instance, the Florida real property is insured, but the loss payee is the

Melinda Adducci Trust. The U.S. Trustee asked for the transfer documents to the

trust, the trust documents, and asked that the schedules and SOFA be amended to


                                            4
 19-54531-pjs    Doc 33    Filed 11/20/19   Entered 11/20/19 17:55:55     Page 4 of 10
include the trust weeks before the §341 meeting. The insurance documents also need

to be amended to reflect the Debtors as loss payees, not the Melinda Adducci Trust.

None of these documents have been provided and the insurance loss payee remains

unchanged as of the time of the §341 meeting.

      11.    The U.S. Trustee asked that the Debtors open “DIP” bank accounts.

Proof of the opening of such accounts was requested by, but has not been provided

to, the U.S. Trustee.

      12.    Bank statements and brokerage account statements going back twelve

months prior to the filing have been requested but nowhere near completely

produced by the Debtors.

      13.    The schedules list over $22.6 million in debt resulting from failed or

fraudulent business transactions.    But the Debtors have not listed all of their

creditors. At least one more creditor need to be added to their schedules for another

approximately $2.5 - $3 million.

      14.    The Statement of Financial Affairs (“SOFA”) does not list all of the

litigation in which the Debtors have been personally involved in the year prior to

filing bankruptcy.

      15.    Although this case has been pending for five weeks, and the U.S.

Trustee brought these deficiencies to attention of counsel of record weeks ago, no

amended schedules have been filed.



                                            5
 19-54531-pjs    Doc 33    Filed 11/20/19   Entered 11/20/19 17:55:55   Page 5 of 10
Invoking the Fifth Amendment Prevents the Debtors from Acting as
Fiduciaries

      16.    Importantly, the Debtors refused to testify at the §341 meeting, on Fifth

Amendment grounds, as to the whereabouts of any of their personal property except

for their vehicles.

      17.    The Debtors invoked the Fifth Amendment at least 125 times between

them as to any topic that had to do with the location, value, or transfer of property,

among others topics.

      18.    Fed.R.Bankr.P. 1008 requires that all schedules lists, petition and

statements filed in a bankruptcy case must be accompanied by a verified declaration

as provided by 28 U.S.C. §1746. The Debtors’ refusal to acknowledge and verify

their signatures on the declarations on the petition, schedules and statement of

financial affairs at the §341 meeting constitutes grounds to convert this case to a

chapter 7 because the Debtors cannot act as fiduciaries.

      19.    Without a trustee, there is no way to reconstruct or verify the Debtors’

assets, transfers and transactions. Assets of the Debtors may go undiscovered to the

detriment of the creditors because of the Debtors’ lack of transparency. See In re

Vaughan, 429 B.R. 14, 28 (Bankr. D.N.M. 2010).




                                            6
  19-54531-pjs    Doc 33   Filed 11/20/19   Entered 11/20/19 17:55:55   Page 6 of 10
Failure to Maintain Adequate Insurance

      20.      The Debtors’ counsel confirmed to the U.S. Trustee that there are no

riders to the homeowner’s insurance policy. The homeowner’s insurance provides

up to $100,000 on the personal property of the Debtors, which includes artwork,

collectibles and jewelry valued by the Debtors at over $465,000. This alone

constitutes cause for conversion under section 1112(b)(4)(C).

Summary

      21.      The Debtors’ lack of transparency stemming from their invoking the

Fifth Amendment privilege against self-incrimination – even as to their signatures

on the petition, schedules and statements – means they cannot serve as trusted

fiduciaries.      The assets and prepetition transfers and transactions can be

reconstructed only by a trustee. The inadequate insurance on personal property

about which the Debtors refused to testify and the Debtors’ failure to provide

reasonably requested information to the U.S. Trustee constitute sufficient cause to

convert this case to a chapter 7.

      22.      A proposed Order is attached as Exhibit A.




                                            7
 19-54531-pjs     Doc 33   Filed 11/20/19   Entered 11/20/19 17:55:55   Page 7 of 10
      WHEREFORE, the United States Trustee respectfully requests that the

Court enter an order converting this case to Chapter 7, and for such other relief as

the Court deems appropriate.

                                               Respectfully submitted,
                                               DANIEL M. McDERMOTT
                                               UNITED STATES TRUSTEE
                                               Region 9

                                       By      /s/ Leslie K. Berg
                                               Trial Attorney
                                               Office of the U.S. Trustee
                                               211 West Fort St - Suite 700
                                               Detroit, Michigan 48226
                                               (313) 226-7950
                                               Leslie.K.Berg@usdoj.gov
Dated: November 20, 2019




                                           8
 19-54531-pjs   Doc 33    Filed 11/20/19    Entered 11/20/19 17:55:55    Page 8 of 10
                                  Exhibit A
                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re:                                                 Case No. 19-54531-pjs

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Melinda J. Adducci,                                    Hon. Phillip J. Shefferly
a/k/a Lindy J. Adducci,

         Debtors.
                                    /

                ORDER CONVERTING CASE TO CHAPTER 7
         THIS MATTER came before the Court upon the Motion of the U.S. Trustee
to convert this case. Notice was properly served upon the Debtor and Debtor’s
counsel and no response was timely filed or served upon the U.S. Trustee. The Court
is otherwise fully advised in the premises. Accordingly,
         IT IS ORDERED that the case is HEREBY CONVERTED to Chapter 7.




                                              9
 19-54531-pjs       Doc 33   Filed 11/20/19   Entered 11/20/19 17:55:55   Page 9 of 10
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Melinda J. Adducci,                                        Hon. Phillip J. Shefferly
a/k/a Lindy J. Adducci,

         Debtors.
                                     /

                             CERTIFICATE OF SERVICE
         I hereby certify that on November 20, 2019, I served copies as follows:
1.       Documents Served:                         Motion to Convert Chapter 11, Ex
                                                   Parte Motion for Expedited Hearing
                                                   and to Shorten Time to Respond and
                                                   Certificate of Service.

         2. Served Upon:                           Joseph G. DuMouchelle
                                                   Melinda J. Adducci
                                                   1221 Bowers #2595
                                                   Birmingham, Michigan 48012
3.       Method of Service:                        First Class Mail
                                                    DANIEL M. McDERMOTT
                                                    UNITED STATES TRUSTEE
                                                    Region 9
                                          By:       /s/ Leslie K. Berg
                                                    Office of the U.S. Trustee
                                                    211 West Fort Street - Suite 700
                                                    Detroit, Michigan 48226
                                                    (313) 226-7950
                                                    Leslie.K.Berg@usdoj.gov
Dated: November 20, 2019




                                              10
 19-54531-pjs       Doc 33   Filed 11/20/19   Entered 11/20/19 17:55:55     Page 10 of 10
